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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

   IN RE: FLINT WATER CASES.                   Case No. 5:16-cv-10444-JEL-MKM

                                               Hon. Judith E. Levy, District Judge
                                               Hon. Elizabeth A. Stafford, Magistrate
                                               Judge

  _________________________________________________________________

       DECLARATION OF RHIANNON A. CAMPBELL IN SUPPORT
     DEFENDANTS VEOLIA NORTH AMERICA, LLC, VEOLIA NORTH
        AMERICA, INC., AND VEOLIA WATER NORTH AMERICA
         OPERATING SERVICES, LLC’S BRIEF IN SUPPORT OF
               CONFIDENTIALITY DESIGNATIONS

        I, Rhiannon A. Campbell, declare as follows:

        1.     I am a Senior Counsel at Veolia North America (VNA). I have held

  this position since July 2020. Before that, I served as counsel at VNA from August

  2019 to July 2020.      I have been involved with the present litigation since

  approximately February of 2022. I have personal knowledge of the matters stated in

  this Declaration.

        2.     I have reviewed Plaintiffs’ challenge to VNA’s confidentiality

  designations of the documents.      This Declaration explains the process VNA

  undertook to assess each of Plaintiffs’ challenges and determine whether to maintain

  its confidentiality assertions. In addition, it explains VNA’s good-faith belief that




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  good cause warrants the continued confidentiality of the documents produced

  pursuant to Judge Levy’s privilege ruling.

        3.     I understand that over the course of this litigation, VNA produced

  almost 75,000 documents to Plaintiffs.

        4.     I understand that, prior to my involvement in the case, VNA initially

  designated documents, including public relations documents, as confidential after

  concluding that disclosure could cause competitive harm or oppression. After

  Plaintiffs challenged many of those confidentiality designations, I reviewed each of

  the challenged documents and VNA, in consultation with outside counsel, revisited

  the designations for the challenged documents and agreed to withdraw

  confidentiality designations for hundreds of documents.

        5.     For the remaining 116 documents at issue in Plaintiffs’ challenge, VNA

  continues to believe that disclosure of these documents could cause competitive

  harm or oppression, as set forth in the Court’s Confidentiality Order.

        6.     In addition, I understand that as part of VNA’s initial review process,

  VNA withheld a very small percentage of documents as subject to the attorney-client

  privilege or work product protections.

        7.     I understand that Judge Levy ordered the production of a limited subset

  of those documents to Plaintiffs after concluding that they were not subject to the

  attorney-client privilege or work product protections. While VNA preserves its right


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  to appeal that decision, VNA has complied with that ruling and produced the

  documents to Plaintiffs with Confidential designations.

        8.    Public disclosure of these 71 documents at issue in the current challenge

  by Plaintiffs will cause VNA harm because it will irrevocably destroy VNA’s ability

  to meaningfully appeal Judge Levy’s privilege ruling. The confidentiality of the

  communications VNA had with its counsel will forever be destroyed should these

  documents be disclosed publicly.

        I declare, under penalty of perjury, that the foregoing is true and correct.

        Executed on March 14, 2024
        Boston, Massachusetts
                                         /s/ Rhiannon A. Campbell
                                         Rhiannon A. Campbell




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